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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JESSICA RAMSAY,
              Plaintiff

                         V.                             CIVIL ACTION NO. 19-2002

 NATIONAL BOARD OF MEDICAL
 EXAMINERS,
             Defendant

                                              ORDER

                      23rd _ day of February 2021, upon consideration of plaintiff's
        AND NOW, this _

unopposed request to modify the dates set forth in this Court's December 4, 2020 Order (ECF

No. 42), it is hereby ORDERED that:

        I.       All discovery on plaintiff's claim for damages, with the exception of expert

witness discovery, shall be completed by no later than May 3, 2021.

       2.        Each party shall submit any and all Reports of their principal Expert Witness(es)

to the other by no later than June 4, 2021.

       3.        Each party shall submit any and all Reports of their Rebuttal Expert Witnesses to

the other by no later than July 6, 2021.

       4.        Any and all Depositions of Expert Witnesses shall be completed on or before

August 6, 2021.

       Except as modified herein, the provisions of this Court's December 4, 2020 Order (ECF

No. 42) remain in effect.

                                              BY THE COURT:

                                                  s/ J. Curtis Joyner

                                              J. CURTIS JOYNER, J.
